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6
7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )         CR-S-04-0069 MCE
                                        )
12             Plaintiff,               )         STIPULATION FOR FINAL
                                        )         ORDER OF FORFEITURE RE:
13        v.                            )         REAL PROPERTY AT 2905 BIRD
                                        )         ROCK ROAD, PEBBLE BEACH,
14   LARRY J. WELLS,                    )         CALIFORNIA AND ORDER
                                        )         THEREON
15             Defendant.               )
     ___________________________________)
16                                      )
     DIANNA L. WELLS and WASHINGTON     )
17   MUTUAL BANK,                       )
                                        )
18             Petitioners.             )
                                        )
19
20        IT IS HEREBY STIPULATED by and between plaintiff United States
21   of America and petitioners Dianna L. Wells and Washington Mutual
22   Bank, to compromise and settle their interests in the following
23   property (hereinafter, the "Property"), and to consent to the entry
24   of a Final Order of Forfeiture as to the following asset pursuant to
25   Fed. R. Crim. P. 32.2, 18 U.S.C. § 982(a)(1), and/or 18 U.S.C. §
26   982(b)(1), incorporating 21 U.S.C. § 853(p):
27             Real property located at 2905 Bird Rock Road,
               Pebble Beach, California, APN: 007-661-004,
28             recorded owners Larry J. Wells and Dianna L.

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1                 Wells, and more fully described as:
2                 Lot 4 in Block 400, as shown on map entitled,
                  map of "Tract No. 429, Monterey Peninsula
3                 Country Club No. 4" etc., filed April 9, 1963 in
                  the office of the County Recorder of the County
4                 of Monterey, State of California1
                                                    in Volume 7 of
                  "Cities and Towns", at page 87.
5
6         This stipulation for Final Order of Forfeiture is entered into
7    between the parties pursuant to the following terms:
8         1.     On June 19, 2006, Larry J. Wells entered into a plea
9    agreement in which he pled guilty to Counts Nineteen and Twenty-two
10   of the Indictment, which charge money transactions in criminally
11   derived property in violation of 18 U.S.C. § 1957, and Counts Seven
12   and Eight, which charge wire fraud in violation of 18 U.S.C. § 1343.
13   The Court entered a Preliminary Order of Forfeiture on February 12,
14   2007.     Pursuant to 21 U.S.C. § 853(n)(1), the United States gave
15   direct notice to Dianna L. Wells and Washington Mutual Bank, and
16   published notice in The Daily Recorder on February 23, March 2, and
17   9, 2007.     Dianna L. Wells filed a Petition for Ancillary Hearing on
18   March 19, 2007, claiming an undivided one-half interest in the
19   Property.     Washington Mutual Bank filed a Petition for Ancillary
20   Hearing on March 26, 2007, claiming a lien holder interest in the
21   Property.      No other persons or entities have come forward and the
22   time for maintaining a claim has expired.
23        2.     The parties hereby stipulate that Dianna L. Wells has an
24   undivided one-half interest in the Property and Washington Mutual
25   Bank is a lien holder on the Property.          Dianna L. Wells and
26   Washington Mutual Bank each have a legal right, title, or interest
27
          1 By separate application, the United States shall seek a
28   final order of forfeiture as to other assets involved in this case.

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1    in the Property, and that such right, title, or interest requires
2    the Court to amend the Preliminary Order of Forfeiture pursuant to
3    Fed. R. Crim. P. 32.2(c)(2) to account for the Petitioners’
4    respective interests because such interests were vested in them
5    rather than the Defendant at the time of the commission of the acts
6    which give rise to the forfeiture of the Property.         See 18 U.S.C. §
7    982(b)(1) (incorporating 21 U.S.C. § 853(n)).        The parties further
8    stipulate, however, that Larry Wells has an undivided one-half
9    ownership interest in the Property and the Preliminary Order of
10   Forfeiture remains valid to the extent it orders the forfeiture of
11   his interest.
12        3.   The parties agree that the sale of the Property shall be
13   handled by the U.S. Marshals Service in a commercially reasonable
14   manner.   The U.S. Marshals Service shall have sole authority to
15   select the means of sale, including sale by internet or through a
16   licensed real estate broker, and shall have sole authority over the
17   marketing and sale of the Property.       Dianna L. Wells shall vacate
18   the Property by December 1, 2007.        Until she vacates the Property,
19   Dianna L. Wells shall maintain the Property in good condition and
20   repair, and provide the U.S. Marshals Service or its agents with
21   reasonable access to the Property to facilitate its appraisal,
22   marketing and sale.    Dianna L. Wells further shall remove all
23   personal possessions, and the personal possessions of any former
24   occupant, including all vehicles, furniture, and trash.          Any and all
25   of Dianna L. Wells' personal possessions, and the personal
26   possessions of any former occupant, not removed will be disposed of
27   by the United States without further notice.        Any cost incurred by
28   the United States for disposal of personal possessions shall be

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1    deducted from the payment to petitioner Dianna L. Wells as set forth
2    in ¶ 4.f below.
3         4.   The United States agrees that upon entry of a Final Order
4    of Forfeiture and sale of the Property pursuant to the Final Order
5    of Forfeiture, the United States will not contest payment to Dianna
6    L. Wells and Washington Mutual Bank from the proceeds of the sale,
7    after payment of outstanding real property taxes assessed against
8    the Property and expenses reasonably incurred by the U.S. Marshals
9    Service in connection with its custody and sale of the Property, the
10   following:
11              a.     All unpaid principal due to the petitioner
12                     Washington Mutual Bank under the Deed of Trust
13                     recorded in the Monterey County, California,
14                     Official Records as instrument number
15                     2003128164, dated October 7, 2003 and recorded
16                     October 21, 2003.   Said Deed of Trust secured a
17                     Promissory Note in the original amount of
18                     $1,467,000.00 dated October 7, 2003.      As of
19                     March 13, 2007, the principal balance due and
20                     owing on the Note was $1,476,692.45.      Accrued
21                     interest due on the Note through March 13, 2007
22                     was $12,779.79.   Interest, subject to change,
23                     was accruing at the rate of $302.74 per diem
24                     commencing March 14, 2007.    The total amount
25                     necessary to pay the Note in full as of March
26                     13, 2007 was $1,489,889.77.
27              b.     All unpaid interest at the contractual base rate
28                     (not the default rate) under the above Note,

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1                    secured by the Deed of Trust, until the date of
2                    payment.
3               c.   To Washington Mutual Bank: reasonable attorney's fees
4                    not to exceed $2,500.00; all costs and expenses for
5                    servicing the subject loan and preservation of the
6                    Property to the extent recoverable under the above
7                    Note, secured by the Deed of Trust; and any property
8                    insurance and property taxes paid by Washington
9                    Mutual Bank shall be reimbursed, until the date of
10                   payment.
11              d.   A total fee of not more than $200 to process a
12                   beneficiary demand statement and to record a
13                   reconveyance of the Deed of Trust.
14              e.   The exact amount to be paid to Washington Mutual
15                   Bank shall be determined at the time of payment,
16                   but shall not be less than the amounts set forth
17                   above.
18              f.   To petitioner Dianna L. Wells, 50% of the net
19                   proceeds from the sale of the Property after the
20                   above disbursements.
21              g.   To the United States of America, 50% of the net
22                   proceeds from the sale of the Property after the
23                   above disbursements to be forfeited to the United
24                   States and disposed of as provided for by law.
25        5.   The payment to petitioners Dianna L. Wells and Washington
26   Mutual Bank shall be in full settlement and satisfaction of all
27   claims and petitions by Dianna L. Wells and Washington Mutual Bank
28   to the Property indicted by the Grand Jury for the Eastern District

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1    of California on or about February 25, 2004, and of all claims
2    arising from and relating to the seizure, detention, and forfeiture
3    of the Property.    The payment to Dianna L. Wells and Washington
4    Mutual Bank shall not include any penalty payments, including any
5    prepayment penalties.
6         6.   Upon payment, Dianna L. Wells and Washington Mutual Bank
7    agree to assign and convey their respective security or other
8    interests to the United States via recordable documents and to
9    release and hold harmless the United States, and any agents,
10   servants, and employees of the United States (and any involved state
11   or local law enforcement agencies and their agents, servants, or
12   employees), in their individual or official capacities, from any and
13   all claims that currently exist or that may arise as a result of the
14   Government’s actions against and relating to the Property.             As
15   against the United States and its agents, petitioners Dianna L.
16   Wells and Washington Mutual Bank agree to waive the provisions of
17   California Civil Code § 1542, which provides: "A general release
18   does not extend to claims which the creditor does not know or
19   suspect to exist in his favor at the time of executing the release,
20   which if known by him must have materially affected his settlement
21   with the debtor."   The release given under this paragraph shall
22   apply only to conduct that has or may have occurred up to and
23   including the date on which Washington Mutual Bank receives payment
24   under the terms of this agreement.       The waiver by Washington Mutual
25   Bank of Civil Code § 1542 pertains only to the release given by
26   Washington Mutual Bank under this agreement as to the subject
27   Property.   Washington Mutual Bank expressly reserves all rights, and
28   does not release any party, for any cross-complaint it might have in

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1    the event Washington Mutual Bank is sued by a third party for the
2    actions of the United states or one of its agents, servants,
3    employees or representatives.
4         7.   Petitioner Washington Mutual Bank agrees not to pursue
5    against the United States any other rights that it may have under
6    the Promissory Note and/or Deed of Trust, including, but not limited
7    to, the right to foreclose upon and sell the Property during the
8    pendency of this proceeding or any post-forfeiture proceeding
9    relating to the marketing and sale of the Property, and any right to
10   assess additional interest or penalties except as specifically
11   allowed herein.
12        8.   Petitioners understand and agree that by entering into this
13   stipulation of their interest in the Property, they waive any right
14   to litigate further their ownership interest in the Property and to
15   petition for remission or mitigation of the forfeiture.          Thereafter,
16   if this Stipulation for Final Order of Forfeiture is approved by the
17   Court, then unless specifically directed by an order of the Court,
18   Dianna L. Wells and Washington Mutual Bank shall be excused and
19   relieved from further participation in this action.
20        9.   Petitioners understand and agree that the United States
21   reserves the right to void the stipulation if, before payment of the
22   Promissory Note or lien, the U.S. Attorney obtains new information
23   indicating that the petitioners are not "innocent owners" or "bona
24   fide purchasers" pursuant to the applicable forfeiture statutes.
25   The U.S. Attorney also reserves the right, in its discretion, to
26   terminate the forfeiture at any time and release the Property.         In
27   either event, the United States shall promptly notify the
28   Petitioners of such action.     A discretionary termination of

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1    forfeiture shall not be a basis for any award of fees.
2    Additionally, Washington Mutual Bank reserves the right to petition
3    the Court for a modification of this order in the event it
4    determines that the value of the subject Property is at an amount
5    which may not be sufficient to satisfy its lien.
6          10.   The parties agree to execute further documents, to the
7    extent reasonably necessary, to convey clear title to the Property
8    to the United States and to implement further the terms of this
9    Stipulation.    Each party agrees to bear its own costs and attorneys’
10   fees, except as otherwise set forth herein.
11         11.   Payment to the petitioners Dianna L. Wells and Washington
12   Mutual Bank pursuant to this Stipulation is contingent upon a
13   forfeiture of the Property to the United States, the United States’
14   prevailing against any additional third parties alleging claims in
15   an ancillary proceeding, and the Court’s entry of a Final Order of
16   Forfeiture.    Further, the terms of this Stipulation shall be subject
17   to approval by the United States District Court.         Violation of any
18   term or condition herein shall be construed as a violation of an
19   order of the Court.
20         12.   The court shall maintain jurisdiction over this matter to,
21   inter alia, enforce the terms of this stipulation.
22   Dated: 10/17/07                   McGREGOR W. SCOTT
                                       United States Attorney
23
24                                     /s/ Courtney J. Linn
                                       COURTNEY J. LINN
25                                     Assistant U.S. Attorney
26   ///
27   ///
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1
2    Dated: 10-16-07                   /s/ Dianna L. Wells
                                       DIANNA L. WELLS
3                                      Petitioner
4    State of California               )
                                       )
5    County of Monterey                )
6    On October 16, 2007 before me, Christina Wittrock , personally
     appeared DIANNA L. WELLS, personally known to me (or proved to me on
7    the basis of satisfactory evidence) to be the person whose name is
     subscribed to this instrument and acknowledged to me that she
8    executed the same in her authorized capacity, and that by her
     signature on the instrument the person, or the entity upon behalf of
9    which the person acted, executed the instrument.
10   CHRISTINA WITTROCK                WITNESS my hand and official seal
     Commission #1579844
11   Notary Public - California        /s/ Christina Wittrock
     Monterey County                   Signature
12   My Comm. Expires May 17, 2009

13
14   Dated: 10/16/07                   /s/ Kirk R. Wagner
                                       ANNE SECKER Kirk R. Wagner
15                                     Attorney for Petitioner
                                       Dianna L. Wells
16
17
18   Dated: 10/15/07                   /s/ Scott J. Stilman
                                       SCOTT J. STILMAN
19                                     Attorney for Petitioner
                                       Washington Mutual Bank
20
                                       (Original signatures retained by
21                                     attorney)
22   ///
23   ///
24   ///
25   ///
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27   ///
28   ///

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1                                       ORDER
2         The Court having received, read, and considered the foregoing
3    Stipulation of the parties, and good cause appearing therefrom, the
4    Stipulated Settlement is hereby ADOPTED and APPROVED, and the Court
5    hereby enters a Final Order of Forfeiture on the terms set forth in
6    the parties’ Stipulated Settlement.
7         IT IS SO ORDERED.
8
     Dated: October 19, 2007
9
10                                      _____________________________
11                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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